                                                                                          FILED IN MY OFFICE
                                                                                      DISTRICT COURT CLERK
                                                                                            3/19/2018 10:14 AM
                                                                                                 James A. Noel
                                                                                                 Destiny Juarez
STATE OF NEW MEXICO
COUNTY OF BERNALILLO
SECOND JUDICIAL COURT

BOB CRABTREE AND ANNETTE CRABTREE
     PLAINTIFFS,

v.                                                                   D-202-CV-2018-02234


WELLS FARGO BANK, N.A., AS TRUSTEE FOR
THE POOLING AND SERVICING AGREEMENT
DATED AS OF OCTOBER 1, 2004, MERRILL LYNCH
MORTGAGE INVESTORS TRUST MORTGAGE LOAN
ASSET-BACKED CERTIFICATES, SERIES 2004-WMC5;
ALTISOURCE AIK/A ALTISOURCE SINGLE FAMILY, INC.,
PROPERTY PRESERVATION SERVICING, LLC,
JOHN DOE I, JOHN DOE II, JOHN DOE III, AND JOHN DOE IV,
     DEFENDANTS.

                  COURT-ANNEXED ARBITRATION CERTIFICATION

               Plaintiffs, Bob Crabtree and Annette Crabtree, by and through their attorney,
Louis Puccini, Jr., of Robert D. Gorman, P.A., pursuant to Second Judicial District Local Rules,
Rule LR2-603, certifies as follows:
[ ]            This party seeks only a money judgment and the amount sought does not exceed
               twenty-five thousand dollars ($25,000.00) exclusive of punitive damages, interest,
               costs and attorney fees.
[X]            This party seeks relief other than a money judgment and/or seeks relief in excess
               of twenty-five thousand dollars ($25,000.00) exclusive of punitive damages,
               interest, costs and attorney fees.
                                                    ROBERT D. GORMAN, P.A.

                                                    By: Electronically Isl Louis Puccini. Jr.
                                                    Louis Puccini, Jr.
                                                    Attorney for Bob and Annette Crabtree
                                                    P.O. Box 25164
                                                    Albuquerque, NM 87125-0164
                                                    (505) 243-5442
                                                    louis(h)rdgorrnanl~nv.com




                                                                                      Exhibit B
